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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                )
Climate United Fund,                            )   Civil Action No. 25-cv-698 (TSC)
                                                )   Civil Action No. 25-cv-735 (TSC)
                      Plaintiff,                )   Civil Action No. 25-cv-762 (TSC)
                                                )   Civil Action No. 25-cv-820 (TSC)
       v.                                       )   Civil Action No. 25-cv-938 (TSC)
                                                )   Civil Action No. 25-cv-948 (TSC)
Citibank, N.A., et al.,                         )   Civil Action No. 25-cv-1208 (TSC)
                                                )   (Consolidated Cases)
                      Defendants.               )
                                                )


  DEFENDANT CITIBANK, N.A.’S NOTICE OF JOINDER TO EPA’S UNOPPOSED
         MOTION TO STAY COMPLAINT RESPONSE DEADLINES

       Defendant Citibank, N.A. joins the EPA Defendants’ Unopposed Motion to Stay

Complaint Response Deadlines (ECF No. 113) for the reasons stated therein.                Citibank

respectfully asks that the Court grant Citibank the same relief sought by the EPA Defendants—

staying the deadlines to respond to Plaintiffs’ complaints in the consolidated cases pending the

United States Court of Appeals for the District of Columbia Circuit’s resolution of the appeal of

the Court’s order granting a preliminary injunction.


Date: May 22, 2025                                     Respectfully submitted,

                                                       /s/ K. Winn Allen
                                                       K. Winn Allen, P.C.
                                                       Saunders McElroy
                                                       KIRKLAND & ELLIS LLP
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                                                       Counsel for Defendant Citibank, N.A.
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 22nd day of May 2025, I caused copies of the

foregoing to be served via the CM/ECF system:


                                                   /s/ K. Winn Allen
                                                   K. Winn Allen, P.C.
